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 Draycott, Justin (CIV)

 From:       Draycott, Justin (CIV)
 Sent:       Monday, February 23, 2009 3:57 PM
 To:         David S. Torborg; Hilary A Ramsey
 Subject: Dep dates for D. Thompson

as R. 30b6 designee
Week of March 9 - open except for          the llth.   March 17th is also open.

I’ll get back to you later this week on the specs that Don will zover.
(I’ll be on travel through Thursday morning)




 10/6/2009
